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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        RYAN SCHAEFFER, et al.,
                                   7                                                       Case No. 13-cv-04358-JST (KAW)
                                                       Plaintiffs,
                                   8
                                                v.                                         ORDER REGARDING DECEMBER 24,
                                   9                                                       2014 JOINT LETTER BRIEF
                                        GREGORY VILLAGE PARTNERS, L.P., et
                                  10    al.,                                               Re: Dkt. No. 133

                                  11                   Defendants.

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                                  13          On June 1, 2011, Plaintiffs Ryan, Anne, and Reese Schaeaffer ("Plaintiffs") commenced

                                  14   this action in Contra Costa Superior Court. (Notice of Removal ¶ 1, Dkt. No. 1.) The case was

                                  15   removed to federal court on September 19, 2013 and referred to the undersigned for discovery

                                  16   purposes on November 20, 2014. (Id.; Order of Referral, Dkt. No. 123.)

                                  17          In the operative complaint, Plaintiffs allege that they have been adversely affected by toxic

                                  18   contamination "flowing under and into their home." (4th Am. Compl. ¶ 1, Dkt. No. 1-1.) Chevron

                                  19   USA, Inc. ("Chevron") is one of the entities that owned and operated a nearby service station,

                                  20   which Plaintiffs identify as one source of the alleged contamination. (Id. ¶¶ 10, 32.)

                                  21          In the joint letter filed on December 24, 2014, Plaintiffs dispute the sufficiency of
                                       Chevron's amended responses, dated July 17, 2013, to Form Interrogatory 15.1. (Joint Ltr., Dkt.
                                  22
                                       No. 133.) Form Interrogatory 15.1 reads:
                                  23
                                                     Identify each denial of a material allegation and each special or affirmative
                                  24          defense in your pleadings and for each:
                                  25                 (a) state all facts upon which you base the denial or special or affirmative
                                              defense;
                                  26                 (b) state the names, ADDRESSES, and telephone numbers of all
                                              PERSONS who have knowledge of those facts; and
                                  27                 (c) identify all DOCUMENTS and other tangible things that support your
                                              denial or special or affirmative defense, and state the name, ADDRESS, and
                                  28          telephone number of the PERSON who has each DOCUMENT.
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                                       (Joint Ltr., Ex. A.)
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                                               Plaintiffs argue that Chevron's amended responses are insufficient. Specifically, Plaintiffs
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                                       challenge Chevron's objection to the interrogatory on the ground that the term "material
                                   3
                                       allegation" is vague and ambiguous. (Joint Ltr. at 3.) They contend that Chevron sets out an
                                   4
                                       appropriate definition of the term in accordance with California Code of Civil Procedure section
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                                       431.10, and based on that definition, Chevron should amend its responses accordingly. (Id.) They
                                   6
                                       also assert that general denials are not usually permitted in federal court. (Id.)
                                   7
                                               As Chevron argues, Plaintiffs did not file a verified complaint in state court, and as a
                                   8
                                       result, Chevron was entitled to generally deny all allegations. See Cal. Civ. Proc. Code §
                                   9
                                       431.30(d). While Plaintiffs assert that general denials are not usually permitted in federal court,
                                  10
                                       Chevron filed its answer to the operative complaint before the action was removed. Plaintiffs
                                  11
                                       offer no authority for the proposition that Chevron must now re-file an answer that conforms to
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                                       the Federal Rules of Civil Procedure or that it must provide discovery responses as if it had filed
                                  13
                                       its answer in federal court. Cf. William Schwarzer et al., California Practice Guide: Federal Civil
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                                       Procedure Before Trial ¶ 2:23195 (2014) ("Moreover, filing an answer in state court may be
                                  15
                                       advantageous where state law permits general denials (federal rules usually require more specific
                                  16
                                       responses; see ¶ 8:935 ff.). No new responsive pleading will be required after removal."). Thus,
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                                       to the extent Plaintiffs challenge the sufficiency of Chevron's responses on this ground, their
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                                       argument fails.
                                  19
                                               For these same reasons, Plaintiffs' argument that Chevron has not identified each denial of
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                                       a material allegation is also misguided, as is Chevron's objection that the term "material
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                                       allegation" is vague and ambiguous. A general denial permits a litigant to avoid providing such
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                                       specificity in its answer. Accordingly, Chevron need not "[i]dentify each denial of a material
                                  23
                                       allegation" in its Answer where it has provided a single general denial.
                                  24
                                               Plaintiffs' remaining arguments primarily concern Chevron's failure to respond to Form
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                                       Interrogatory 15.1 in the format Plaintiffs' have specified, i.e., by providing the information
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                                       requested in subparts (a), (b), and (c). (Joint Ltr. at 3.) Plaintiffs contend that Chevron's responses
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                                       "require[] Plaintiffs to guess as to which people and which documents support which denial and/or
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                                   1   defense." (Id.) The Court agrees that Chevron has not fully responded to Form Interrogatory

                                   2   15.1. It shall, therefore, provide amended responses that include all of the information requested

                                   3   in the interrogatory, including each affirmative defense and the information requested in each

                                   4   subpart of Interrogatory 15.1 pertaining to each affirmative defense identified.

                                   5           If, after Chevron has provided its amended responses, the parties decide to file a further

                                   6   joint letter with the Court, Plaintiffs shall be sure to identify specific deficiencies in the response

                                   7   provided for each affirmative defense at issue. The parties shall also include a proposed

                                   8   compromise, as to each response at issue, in any future filing. See General Standing Order ¶ 13

                                   9   ("[T]he parties shall draft and file a jointly signed letter . . . that contains . . . [w]ith respect to each

                                  10   issue relating to the unresolved dispute, a detailed summary of each party's final substantive

                                  11   position and their final proposed compromise on each issue, including relevant legal authority.").

                                  12   The parties may file a further joint letter only after meeting and conferring to sufficiently narrow
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                                  13   their discovery dispute to only those responses which are truly at issue.

                                  14           IT IS SO ORDERED.

                                  15   Dated: 01/23/2015

                                  16                                                        ______________________________________
                                                                                            KANDIS A. WESTMORE
                                  17                                                        United States Magistrate Judge
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